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                                  UNITED STATES DISTRICT COURT FOR THE
                                   WESTERN DISTRICT OF PENNSYLVANIA

        BESSEMER SYSTEM FEDERAL CREDIT )
        UNION,                              )
                                            )
                  Plaintiff,                )                Civil Action No.____________________
                                            )
             vs.                            )                (Removed from Pennsylvania Court of
                                            )                Common Pleas, Mercer County, Civil
        FISERV SOLUTIONS, LLC, f/k/a FISERV )                Division Case No. 2018-01130)
        SOLUTIONS, INC., and FISERV, INC.,  )
                                            )
                  Defendants.               )

                                              NOTICE OF REMOVAL

                   PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

        Defendants Fiserv Solutions, LLC (“Fiserv Solutions”), f/k/a Fiserv Solutions, Inc.1, and Fiserv,

        Inc. (together “Defendants”) hereby file this Notice of Removal and remove an action brought

        against them by Bessemer System Federal Credit Union (“Bessemer”) in the Mercer County Court

        of Common Pleas of the State of Pennsylvania, bearing Case No. 2018-01130 (the “State Court

        Action”), to the United States District Court for the Western District of Pennsylvania on the

        grounds that there is jurisdiction in this Court pursuant to 28 U.S.C. § 1332(a). The grounds for

        removal are as follows:

                                           THE STATE COURT ACTION

                   1.       On April 20, 2018, Bessemer initiated the State Court Action in the Court of

        Common Pleas, Mercer County, Pennsylvania, without filing or serving a corresponding




        1
         The Summons incorrectly identifies one of the Defendants as Fiserv Solutions, Inc., an entity that
        no longer exists and that is now known as Fiserv Solutions, LLC. Accordingly, the only
        Defendants properly named in this action are Fiserv Solutions, LLC and Fiserv, Inc.

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        complaint. Over one year later, on April 26, 2019, Bessemer first filed and served a complaint in

        the State Court Action.

                   2.       This action arises out of an agreement between the parties under which Fiserv

        Solutions provided financial services software and related services to Bessemer, and Bessemer

        agreed to pay fees to Fiserv Solutions for such software and services.

                   3.       The complaint alleges claims against Fiserv Solutions for breach of the parties’

        agreement, negligence, unfair and deceptive trade acts and practices, fraud, constructive fraud,

        negligent misrepresentation, conversion/misappropriation, breach of bailee duties, unjust

        enrichment, and punitive damages. Ex. A, Complaint at ¶¶ 143-245. The complaint also alleges

        claims against Fiserv, Inc., which is not a party to any agreement with Bessemer.

                   4.       According to the complaint, the relief Bessemer seeks includes: (a) all damages

        allowed by law, including compensatory, consequential, incidental, reliance, restitutionary, delay,

        treble, and punitive, plus attorneys’ fees, costs, disbursements, additional allowances, and

        prejudgment and post-judgment interest; (b) specific performance; (c) injunctive relief; and (d)

        other further relief the Court deems appropriate. Ex. A, Complaint at ¶¶ 153, 168, 184, 192, 201,

        211, 222, 232, 236, 245.

                                       BASIS FOR DIVERSITY JURISDICTION

                   5.       Pursuant to 28 U.S.C. § 1441(a) and 28 U.S.C. § 1332, this action is a civil action

        over which this Court would have original jurisdiction.

                   6.       In relevant part, 28 U.S.C. § 1332(a) provides:

                            The district courts shall have original jurisdiction of all civil actions
                            where the matter in controversy exceeds the sum or value of
                            $75,000, exclusive of interest and costs, and is between –

                                    (1) citizens of different States . . . .


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        28 U.S.C. § 1332(a)(1). Both the diversity-of-citizenship and amount-in-controversy requirements

        are satisfied here.

                                                 Diversity of Citizenship

                   7.       Bessemer was, at the commencement of this action, is now, and at all pertinent

        times has been, a federally chartered Pennsylvania credit union. As a general rule, a federally

        chartered credit union is a not a citizen of any state for purposes of diversity jurisdiction. Prater

        v. Am. Heritage Fed. Credit Union, 351 F. Supp. 3d 912, 918 (E.D. Pa. 2019).

                   8.       The Third Circuit, however, established and continues to adhere to the well-

        recognized “localization” exception to that rule. Under the “localization” doctrine, a federally

        charted credit union is a citizen of a single state for purposes of diversity jurisdiction if its activities

        are localized in a particular state. Feuchtwanger Corp. v. Lake Hiawatha Fed. Credit Union, 272

        F.2d 453, 456 (3d Cir. 1959) (establishing localization doctrine and holding that federal credit

        union was a citizen of Pennsylvania because “localization of activity within a particular state

        sufficed to make a federal corporation a citizen of that state”); see also Little League Baseball, Inc.

        v. Welsh Pub. Grp., Inc., 874 F. Supp. 648, 651 (M.D. Pa. 1995) (“If the activities of a federally

        chartered corporation are limited to a single state, either factually or by charter, then the

        corporation is a citizen of that state.”); Sovereign Bank, F.S.B. v. Chicago Title Ins. Co., No. 00-

        596, 2000 U.S. Dist. LEXIS 11087 (E.D. Pa. Aug. 7, 2000) (concluding that bank was localized

        in Pennsylvania where its principal place of business and the majority of its branch offices and

        personnel were located in Pennsylvania).

                   9.       Bessemer maintains its principal and only place of business and its sole branch

        location at 106 Woodfield Drive, Greenville, Pennsylvania. See Declaration of Timothy Patterson

        (“Patterson Decl.”) at ¶ 3.


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                   10.    Bessemer is a community Credit Union servicing the Great Mercer County area.

        See Declaration of Timothy Patterson, ¶ 3. “The Federal Credit Union Act recognizes three types

        of federal credit union charters—single common bond (occupational and associational), multiple

        common bond (more than one group each having a common bond of occupation or association),

        and community.” 12 C.F.R. Pt. 701, App. B. Under the Federal Credit Union Act, membership

        of a community credit union “shall be limited to . . . Persons or organizations within a well-defined

        local community, neighborhood, or rural district.”                      12 U.S.C. § 1759(b)(3).           To receive

        “community” status, a federally chartered credit union must submit marketing and business plans

        that demonstrate its community-based status, and a failure to conform to those marketing and

        business plans can result in the National Credit Union Administration taking supervisory action

        against the credit union. See 12 C.F.R. Pt. 701, App. B.

                   11.    On its website, Bessemer advertises: “In 2005, we became a Community Credit

        Union, which allows us to accept anyone who lives, works, worships, or attends school in Mercer

        County, as well as businesses and other legal entities located in Mercer County, Pennsylvania.”

        https://www.bessfcu.com/about-us (last accessed on May 14, 2019).

                   12.    On information and belief, Bessemer’s activities—both in fact and by charter—are

        localized to Pennsylvania.2 As a result, Bessemer is a citizen of the State of Pennsylvania and no




        2
          Bessemer attempts to plead around removal in the complaint, alleging: “Bessemer does business with members
        residing in Pennsylvania, Ohio, and more than twenty other states.” Ex. A, Complaint, at ¶ 14. On information and
        belief, the activities Bessemer claims to conduct in Ohio and other states are minimal and represent a small portion
        of Bessemer’s operations. Moreover, wherever its members reside, Bessemer’s own operations and activities all
        take place in Pennsylvania. As a result, the facts alleged, even if true, will not defeat the localization exception.
        See, e.g., Loyola Fed. Sav. Bank v. Fickling, 58 F.3d 603, 606 (11th Cir. 1995) (noting that a federally chartered
        corporation will “be considered a citizen of one state for diversity purposes if the corporation's activities are
        ‘localized’ in that state, despite some out-of-state business activities. The activities do not have to be 100% localized
        in order to trigger this exception.”) Nonetheless, Defendants will contemporaneously file a motion for leave to
        conduct jurisdictional discovery to discredit Bessemer’s factual allegations.


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        other state. 28 U.S.C. § 1332(a)(1); see Little League Baseball, Inc., 874 F. Supp. at 651 (“If the

        activities of a federally chartered corporation are limited to a single state, either factually or by

        charter, then the corporation is a citizen of that state.”).

                   13.   Before March 31, 2015, Fiserv Solutions, Inc. was a corporation organized under

        the laws of the State of Wisconsin that maintained its principal place of business at 255 Fiserv

        Drive, Brookfield, Wisconsin. See Declaration of Paul Teti (“Teti Decl.”) at ¶ 3. As a result,

        Fiserv Solutions, Inc. was a citizen of the State of Wisconsin and no other state.                  28

        U.S.C. § 1332(a)(1).

                   14.   Effective March 31, 2015, Fiserv Solutions, Inc. underwent a business entity

        change and became Fiserv Solutions, LLC, a Wisconsin limited liability company. Teti Decl. at

        ¶ 4.

                   15.   Fiserv Solutions, LLC was at the commencement of this action, and is now, a

        limited liability company organized and existing under the laws of the State of Wisconsin that

        maintains its principal place of business at 255 Fiserv Drive, Brookfield, Wisconsin. Id. at ¶ 5.

                   16.   The sole member of Fiserv Solutions, LLC is Fiserv, Inc. Id. at ¶ 6. At the

        commencement of this action, Fiserv, Inc. was, and is now, a corporation organized under the laws

        of the State of Wisconsin that maintains its principal place of business at 255 Fiserv Drive,

        Brookfield, Wisconsin. Id.

                   17.   As a result, Fiserv Solutions, LLC and Fiserv, Inc. are both citizens of the State of

        Wisconsin and no other state. 28 U.S.C. § 1332(a)(1).

                                                Amount in Controversy

                   18.   The amount-in-controversy requirement is satisfied. Although Bessemer does not

        specifically quantify the value of the relief it requests, or the amount in controversy, it is apparent


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        that the jurisdictional threshold of $75,000, exclusive of interest and costs, is exceeded here.

        Bessemer’s complaint seeks compensatory damages, equitable relief, punitive damages, and

        attorney’s fees. Each form of relief sought must be aggregated in order to determine the total

        amount in controversy. Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 585 (2005).

                   19.   Bessemer alleges that Fiserv converted and misappropriated its assets, including

        (1) Bessemer’s account records and information, which “embody and represent, without limitation,

        the title to the shares Bessemer members own as well as debts and other obligations of Bessemer

        to its members,” (2) “funds deposited in members’ share draft accounts or otherwise in the custody

        of Bessemer,” and (3) “funds that are due and owing to Bessemer and its members.” Ex. A,

        Complaint at ¶¶ 214-15. Bessemer alleges that it has a property interest in the forgoing assets and

        Fiserv has “converted and misappropriated this property.” Id. at ¶¶ 215, 218.

                   20.   While Bessemer does not specify or quantify the assets allegedly “converted and

        misappropriated,” Bessemer’s one-hundred-and-fourteen-page complaint suggests the value of

        such assets exceeds $75,000. Bessemer reports having $32,000,000 in assets. Patterson Decl.,

        ¶ 3.

                   21.   Bessemer also alleges monetary damages for improper fees and invoices related to

        services Bessemer alleges either were not provided, were overcharged, or were provided after

        Bessemer terminated the Master Agreement, including allegedly improper charges for “real time”

        negative balance reporting, monthly back-up connection services, and deconversion fees. Ex. A,

        Complaint at ¶¶ 114(b), (f), 120, 141. For example, Bessemer has paid over $40,000 in fees related

        to its transition from Fiserv’s services but has done so “under protest.” See Patterson Decl. at ¶ 4,

        Ex. 1. Bessemer has similarly alleged Fiserv’s failure to perform its obligations under the Master

        Agreement dating back to at least August 2016 and openly disputes the legitimacy and accuracy


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        of Fiserv’s invoices issued to Bessemer from at least August 2016 through April 26, 2019. Ex A,

        Complaint at ¶¶ 78, 114, 115; Complaint Ex. 2 at 1-6; Complaint Ex. 3 at 1. In the aggregate,

        Fiserv invoiced Bessemer more than $460,000 during this time period. See Teti Decl. at ¶¶ 7–10.

                   22.   In addition, Bessemer seeks punitive damages and attorney’s fees. When permitted

        under state law, both “are properly considered in determining whether the claim reaches the

        jurisdictional threshold.” Ripley v. Brethren Mut. Ins. Co., 69 F. Supp. 3d 503, 509 (E.D. Pa. 2014)

        (citing Packard v. Provident Nat'l Bank, 994 F.2d 1039, 1046 (3d Cir.1993)); Suber v. Chrysler

        Corp., 104 F.3d 578, 585 (3d Cir. 1997) (“Moreover, in calculating the amount in controversy, we

        must consider potential attorney's fees.”); Minissale v. State Farm Fire & Cas. Co., 988 F. Supp.

        2d 472, 477 (E.D. Pa. 2013) (“Since Plaintiffs are able to recover, in addition to the $55,315

        estimate for consequential damages, punitive damages and attorney's fees, and Pennsylvania law

        does not cap those damages, it is more likely than not that Plaintiffs can recover more than

        $75,000.”).

                   23.   Taking Bessemer’s various alleged damages in the aggregate, the amount in

        controversy for Bessemer’s claims exceeds $75,000, exclusive of interests and costs.

                   24.   Accordingly, the above-entitled action is a civil action over which this Court would

        have original jurisdiction pursuant to 28 U.S.C. § 1332(a). The action therefore may be removed

        to this Court pursuant to 28 U.S.C. § 1441 in that the action is between citizens of different states,

        so there is complete diversity between the parties, and the matter in controversy, exclusive of

        interest and costs, exceeds the sum or value of $75,000.

           ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

                   25.   Fiserv Solutions was first served with a copy of the complaint on April 26, 2019,

        the same date the complaint was filed in the Court of Common Pleas of Mercer County. Fiserv,


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        Inc. was served through its registered agent with a copy of the Complaint on May 14, 2019. In

        turn, this Notice of Removal is timely filed under 28 U.S.C. § 1446(b), as this Notice of Removal

        is being filed before expiration of the 30-day removal period, which commenced after service of

        the complaint.3 See Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999).

                   26.    Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the docket and all

        process, pleadings, and orders from the State Court Action are being filed with this Notice of

        Removal as Exhibit A. True and correct copies of proof of service or proof of receipt of

        Bessemer’s complaint for both Defendants are being filed with this Notice of Removal as

        Exhibit B.

                   27.    Removal to this Court is proper pursuant to 28 U.S.C. §§ 1441(a) and 1446(a)

        because the U.S. District Court for the Western District of Pennsylvania is the federal judicial

        district embracing the Court of Common Pleas of Mercer County, where the State Court Action

        originally was filed.

                   28.    Pursuant to 28 U.S.C. § 1446(d), the undersigned counsel certifies that a Notice of

        Filing of Notice of Removal, along with a copy of this Notice of Removal, will be promptly filed

        with the prothonotary of the Court of Common Pleas of Mercer County, and Defendants are

        providing written notice of the filing of this Notice of Removal to all adverse parties.

                                                        CONCLUSION

                   29.    By this Notice of Removal, Defendants do not waive any objections they may have

        as to service, jurisdiction, or venue, or any other defenses or objections they may have to this



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         Because the conclusion of the initial 30-day removal period fell on Sunday, May 26, and the following day,
        Monday, May 27, was Memorial Day, Defendants’ 30-day removal period was extended to Tuesday, May 28. See
        Fed. R. Civ. P. 6(a)(1)(C); Fed. R. Civ. P. 6(a)(6)(A) (defining “[l]egal holiday” to include Memorial Day); see also
        Gabriel v. Giant Eagle, Inc., No. Civ.A 14-0980, 2014 WL 7071034, at *4 n.3 (W.D. Pa. Dec. 12, 2014) (applying
        Fed. R. Civ. P. 6(a) to calculate removal period under 28 U.S.C. § 1446).
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        action. In addition, no waiver and no admission of fact, law, or liability, including without

        limitation the amount of damages, if any, is intended by this Notice of Removal, and all defenses,

        affirmative defenses, and rights are hereby reserved. Defendants also respectfully reserve the right

        to submit additional evidence supporting this Notice of Removal if Bessemer files a motion to

        remand this action to state court.

                   WHEREFORE, Defendants hereby remove this action from the Court of Common Pleas

        of Mercer County, Pennsylvania to the United States District Court for the Western District of

        Pennsylvania.

        Dated: May 28, 2019.

                                                          Respectfully submitted,



                                                          /s/ Brian C. Bevan
                                                          Efrem M. Grail, Esquire (PA ID No. 81570)
                                                          Brian C. Bevan, Esquire (PA ID No. 307488)
                                                          THE GRAIL LAW FIRM
                                                          Koppers Building, 30th Floor
                                                          436 Seventh Avenue
                                                          Pittsburgh, PA 15219
                                                          egrail@graillaw.com
                                                          bbevan@graillaw.com

        Of Counsel
        Andrew J. Wronski, Esquire
        Timothy J. Patterson, Esquire
        Jesse L. Byam-Katzman, Esquire
        FOLEY & LARDNER LLP
        777 East Wisconsin Avenue
        Milwaukee, WI 53202
        awronski@foley.com
        tjpatterson@foley.com
        jbyam-katzman@foley.com
        (414) 271-2400

                                                          Counsel for Fiserv Solutions, LLC and Fiserv,
                                                          Inc.

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                                          CERTIFICATE OF SERVICE

                   I, Brian C. Bevan, hereby certify that a copy of the foregoing Notice of Removal and

        accompanying Declarations of Timothy Patterson and Paul Teti were served on the following

        counsel for Plaintiff via ECF, electronic mail and United States Mail, proper first-class postage

        affixed, this 28th day of May, 2019.


                         Richard J. Parks
                         Pietragallo Gordon & Alfano
                         Bosick & Raspanti, LLP
                         7 West State Street, Suite 100
                         Sharon, PA 16146
                         rjp@pietragallo.com

                         Charles J. Nerko
                         Joel S. Forman
                         Vedder Price P.C.
                         1633 Broadway, 47th Floor
                         New York, New York 10019
                         cnerko@vedderprice.com
                         jforman@vedderprice.com

                         Attorneys for Bessemer System Federal Credit Union


                                                           /s/ Brian C. Bevan
                                                           Brian C. Bevan




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